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7

8                                  UNITED STATES DISTRICT COURT
9                                NORTHERN DISTRICT OF CALIFORNIA
10

11   METALLURGICAL PLANT KAZSILICON LLP,                       Case No.
12                 Petitioner,
                                                               PETITION TO CONFIRM
13         v.                                                  FOREIGN ARBITRATION
14   CLEAN POWER INNOVATIONS, LLC,                             AWARD AND TO HAVE
                                                               JUDGMENT ENTERED ON
15                 Respondent.                                 ARBITRATION AWARD
16

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20         Petitioner METALLURGICAL PLANT KAZSILICON LLC (“Petitioner” or “Kazsilicon”),
21   by and through its undersigned attorneys of record, hereby petitions this Court for an Order: (a)
22   confirming an arbitration award dated August 6, 2021, resolving commercial disputes between
23   Petitioner Kazsilicon and Respondent CLEAN POWER INNOVATIONS, LLC (“Respondent” or
24   “CPI”) (“Award”) (see Dauren Abishev Declaration [“Abishev Decl.”] ¶ 1 & Exh. A; a copy is
25   also attached to this Petition); (b) entering a judgment in Petitioner’s favor and against
26   Respondent in the full amount of the Award, plus post-award, pre-judgment interest and the
27   reasonable attorneys’ fees and costs incurred by Kazsilicon for bringing this Petition; and (c) for
28   such other relief as the Court deems just and proper.
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1                              I.       PARTIES, JURISDICTION AND VENUE

2          1.       Petitioner Kazsilicon is a company organized under the laws of the of the Republic

3    of Kazakhstan (“Kazakhstan”) with its principal place of business in Almaty region, Kazakhstan.

4          2.       Respondent CPI is a limited liability company organized under the laws of the State

5    of California with its principal place of business in Belmont, California.

6          3.       This is an action to confirm an international arbitral award under the 1958

7    Convention on the Recognition and Enforcement of Foreign Arbitral Awards (the “New York

8    Convention”), a treaty in force in and with the United States of America. 9 U.S.C. § 201.

9          4.       The Award is governed by the New York Convention because the Award and the

10   arbitration agreement arise from a legal relationship that is commercial and involves a foreign

11   citizen, Petitioner Kazsilicon, and also involves performance abroad. 9 U.S.C. § 202.

12         5.       “[C]onfirmation petitions under the New York Convention are “deemed to arise”

13   under the laws of the United States, 9 U.S.C. § 203; Stileks v. Republic of Moldova (D.C. Cir.

14   2021) 985 F.3d 871, 881. This court accordingly has subject-matter jurisdiction over this Petition

15   under 9 U.S.C. § 203 and 28 U.S.C. § 1331.

16         6.       In addition, this Court also has original jurisdiction over this Petition pursuant to 28

17   U.S.C. § 1332(a)(2) in that it is an action where the matter in controversy exceeds the sum or

18   value of $75,000, exclusive of interest and costs, and is between Respondent CPI, a citizen of

19   California, and Petitioner, a citizen of the Republic of Kazakhstan. See Declaration of William F.

20   Murphy [“Murphy Decl.”] ¶ 8 & Exh. U.

21         7.       This court is the proper venue for this case under 9 U.S.C. § 204. This is a “court in

22   which save for the arbitration agreement an action or proceeding with respect to the controversy

23   between the parties could be brought”: Respondent CPI is a California limited liability

24   corporation with its principal place of business in Belmont, California and so, “save for the

25   arbitration agreement” could be sued in this district. See 28 U.S.C. § 1391(b), (c);

26         8.       The Court has personal jurisdiction over Respondent and venue is proper in the

27   Northern District of California because Respondent’s principal place of business is located in

28   Belmont, California, in this judicial District. See Murphy Decl. ¶ 8 & Exh. U.

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1                                   II. THE ARBITRATION AGREEMENT

2          9.       As reflected in the Award and in the Parties’ Contract, as amended, Petitioner and

3    Respondent (the “Parties”) agreed to resolve all disputes arising between them under the Contract

4    or in connection with it by binding arbitration.

5          10.      The arbitration agreement is set forth in Article 13 of the “CONTRACT NO.

6    OMTO/14-79 on procurement of purified solar grade silicon from single source method” dated

7    June 13, 2014, pursuant to which Respondent agreed to supply Petitioner with solar grade silicon

8    (also referred to as “SoG-Si”). Abishev Decl. ¶ 3 & Exh. B (the “Initial Contract”).

9          11.      The arbitration agreement in the Contract provides in relevant part as follows:

10               13.1. All disputes arising between the Parties under this Contract or in
                 connection therewith shall be settled be negotiation between the parties.
11
                 13.2. The customer and the Supplier have to use reasonable efforts to resolve
12               in the course of direct negotiations all disagreements or the disputes arising
                 between them on the Contract or in connection with it.
13
                 13.3. If, within 21 (twenty one) calendar days after the start of such
14               negotiations Customer and Supplier cannot resolve the dispute under the
                 Contract, either party may request to address this issue in accordance with
15               the rules of the International Chamber of Commerce. The arbitration shall be
                 conducted in accordance with the above rules if the parties could not agree
16               on the appointment of an arbitrator. The hearing has to be carried out in
                 Geneva (The Swiss confederation) in English with simultaneous
17               interpretation into Russian.
18               13.4. Expenses on carrying out arbitration will be paid according to the
                 decision of arbitration judges. Decisions of arbitration is final and obligatory
19               for both Parties.
20               13.5. Applicable law under the present Contract is the substantive and
                 procedural law of the United Kingdom
21
           See the Contract, Article 13, p. 8.
22

23                          III.     THE DISPUTE AND PETITIONER’S CLAIMS

24         12.      Under the terms of the Initial Contract, Respondent CPI was to deliver to Petitioner

25   Kazsilicon 280 metric tons of solar grade silicon by the end of 2014 for a total price of USD

26   $5,040,000. See the Initial Contract, Annex No.1 at p. 14. The original terms provided for

27   payment in three installments: a 20% advance payment of the total cost of the solar grade silicon, a

28   60% pre-payment for each batch to be supplied, and the remaining 20% upon receipt of the

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1    supplied SoG-Si. (Award ¶¶ 193-194) Kazsilicon made advance payments to CPI of USD

2    $1,997.776.68 pursuant to the Initial Contract, but at the time the Initial Contract, as amended,

3    expired, CPI had delivered only about 39 metric tons of SoG-Si worth USD $701,776.68. (Award

4    ¶ 203)

5             13.   The Parties entered into three (3) supplementary agreements which, pursuant to

6    Article 13.8 of the Initial Contract, became integral parts of the Contract (Award ¶ 253). Pursuant

7    to those supplementary agreements, among other things, the Parties agreed to extend the period of

8    the Initial Contract (Award ¶ 195) and to reduce the remaining amount of SoG-Si to be delivered

9    by Respondent to Petitioner to about 40 metric tons of SoG-Si to be delivered on or before

10   December 31, 2015, a date later extended to December 31, 2016 (Award ¶¶ 115-122, 195, 238).

11   The Parties further agreed that Respondent would refund to Petitioner amounts advanced or

12   prepaid to Respondent for SoG-Si that it did not deliver (Award ¶ 237).

13            14.   By the end of 2016, when the Parties’ Contract, as amended, terminated,

14   Respondent CPI had delivered a total of only about 39 metric tons of SoG-Si to Petitioner

15   Kazsilicon. (Award ¶ 196). The remaining (reduced amount) of about 40 metric tons the parties

16   had agreed the CPI would deliver in their supplementary agreements remained undelivered. The

17   amount paid by Petitioner Kazsilicon in excess of the amount owed under the Contract by

18   Kazsilicon for SoG-Si actually delivered by Respondent was USD $1,296,000, which Petitioner

19   Kazsilicon was entitled to have refunded to it by Respondent CPI. (Award ¶¶ 290, 294).

20            15.   In addition, Respondent’s failure to deliver to Petitioner Kazsilicon the remaining

21   40 metric tons of SoG-Si triggered the contractual penalty provisions set forth in Section 9.2 of

22   the Contract. That Section 9.2 provided that “[i]n the case of non-compliance and/or inadequate

23   execution of its obligations to deliver the Goods by Supplier within the period specified in the

24   Contract, the Customer is entitled to recyclers penalty of 1,0 (one)% of the value of undelivered

25   goods in time for each day of delay, but not to exceed more than 10.0 (ten) % of the value of

26   undelivered goods.” The value of the 40 metric tons of undelivered SoG-Si at USD

27   $18,000.00/ton was $720,000.00. Thus, Respondent CPI also owed Kazsilicon a penalty payment

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1    pursuant to Section 9.2 of the Initial Contract in the amount of USD $72,000.00 (USD $720,000 x

2    10% = $72,000.00). (Award ¶¶ 133, 296-310)

3          16.      Finally, Petitioner Kazsilicon claimed reimbursement for an administrative penalty

4    imposed on Kazsilicon because of Respondent CPI‘s failure to fulfill its contractual obligations.

5    The failure to perform by Respondent caused an infringement of the Republic of Kazakhstan’s

6    foreign currency regulations, that is, money was paid out for which no goods or services were

7    received in a timely manner which in turn resulted in Petitioner Kazsilicon having to pay an

8    administrative fine of USD $11,707.00. Kazsilicon claimed the right to reimbursement for that

9    penalty under Section 9.11 of the Initial Contract, which provided that “[i]n the event of the

10   Customer’s costs arising from late delivery of the good by the Supplier, the latter shall reimburse

11   these expenses under the first requirement of the Customer in writing with supporting documents

12   and/or the signing of this Contract to consent to such deductions of such expenses from the total of

13   the Contract.” See the Initial Contract, § 9.11, p.6. The Arbitrator agreed. (Award, ¶¶ 311-333)

14         17.      The Arbitrator rejected CPI’s counterclaims. (Award ¶¶334-339)

15                  IV. THE ARBITRATION AND THE ARBITRATION AWARD

16          18.     The history of the arbitration proceedings leading up to the issuance of the Award

17   on August 6, 2021, is set forth in the Award itself at ¶¶ 32-113. Petitioner Kazsilicon initiated

18   arbitration proceedings with the International Chamber of Commerce (“ICC”) by a Request for

19   Arbitration dated February 27, 2020. Abishev Decl., ¶ 9, Exh. D. Petitioner Kazsilicon and

20   Respondent CPI were each represented by counsel from at least October 9, 2020, through the

21   issuance of the final Award dated August 6, 2021. See Award, Exhibit A, ¶ 49. On or about

22   October 16, 2020, by agreement of the parties, the ICC Secretariat appointed Dr. Michael Feit as

23   sole Arbitrator in this matter. See Award, Exhibit A, ¶¶ 47-52. On January 20, 2021, Respondent

24   CPI submitted a Statement of Defense and Counterclaim. Abishev. Decl. ¶ 12, Exh. E. On

25   February 10, 2021, Kazsilicon submitted its Reply and Defense to Counterclaim. Abishev Decl. ¶

26   13 & Exh. F. On March 12, 2021, with the permission of the sole Arbitrator, Kazsilicon filed and

27   served an “Updated Statement of Claim”. Abishev Decl. ¶ 14 & Exh. G. The arbitration hearing

28   took place on March 22 and 23, 2021, by way of videoconference, as agreed to by the Parties, and

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1    was conducted under the International Chamber of Commerce Rules of Arbitration in force as of

2    March 1, 2017. Abishev Decl. ¶ 15. The Opening Statement for Kazsilicon was presented on

3    March 22, 2021. Abishev Decl. ¶ 16 & Exh. H. The Opening Statement for Respondent CPI was

4    also presented on March 22, 2021. Abishev Decl. ¶ 17 & Exh. I. Respondent’s written opening

5    statement contains and relies on portions of Supplementary Agreements Nos. 3 and 4. See Exhibit

6    I, p. 19. Further evidence and arguments were given, including testimonial evidence given by

7    Danel Skakov and Baizhumin Daniyar Anuarbekocivh on behalf of Petitioner Kazsilicon, and Dr.

8    Kamel Ounadjela and Yvon Pellegrin on behalf of Respondent CPI. Abishev Decl. ¶ 17.

9           19.     On April 13, 2021, Kazsilicon filed and served its Post-Hearing Brief. On April 15,

10   2021, Respondent filed and served its Post-Hearing Brief. Following the parties’ additional

11   submission of materials and comments regarding costs, by an email dated June 24, 2021, the sole

12   Arbitrator declared the proceedings closed. See Award, Exhibit A, ¶¶ 103-112; Abishev Decl. ¶¶

13   18-20 & Exhs. J & K.

14          20.     On August 6, 2021, the Arbitrator issued his Final Award. A true and correct,

15   certified copy of that Award is attached hereto as Exhibit A and to the Abishev Declaration as

16   Exhibit A. The Arbitrator awarded Petitioner damages in the amount of USD $1,379,707.00.

17   (Award, ¶ 424(2), p. 98). Of that USD $1, 379, 707.00, USD $1,296,000.00 was what the

18   Arbitrator determined Petitioner had overpaid Respondent. (Award ¶ 290, 294). The Arbitrator

19   also determined that Petitioner was entitled to USD $72,000 for Respondent’s delays in delivery

20   under Article 9.2 of the Initial Contract (Award ¶ 310), and that Petitioner was entitled to USD

21   $11,707 from Respondent for having caused Petitioner to violate of Kazakh currency control law

22   and incur administrative penalties in that amount as a result of Respondent having failed to either

23   deliver all the SoG-Si represented by the funds advanced by Petitioner or to refund monies

24   advanced for SoG-Si that was not delivered (Award ¶¶ 311-341).

25          21.     In terms of costs, the Arbitrator fixed the total amount of arbitration costs at USD

26   $78,600.00, of which 75% was to be borne by Respondent CPI and 25% by Petitioner Kazsilicon.

27   Award at ¶¶ 397-398. After taking into account the amounts Petitioner and Respondent had each

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1    previously paid into the ICC Secretariat for costs, the Arbitrator determined that Respondent CPI

2    was to reimburse Petitioner Kazsilicon a net USD $ 33,800.00 for its “costs of arbitration”.

3          22.      As to attorneys’ fees and costs to be awarded, the Arbitrator determined those fees

4    and costs included legal fees, remote hearing services provided by Opus2 to enable to Parties to

5    see the proceedings and communicate with each other, fees for translation services, fees for the

6    service of hearing interpreters, and fees for disbursements of Respondent’s witnesses. The

7    Arbitrator fixed those costs and fees and then allocated them, with Petitioner Kazsilicon to

8    recover a net of USD $141,134.25 and GBP £4,402.50 [USD $6.107.71]. The Arbitrator also

9    awarded Petitioner an additional sum denominated in Kazakhstan currency: 1,500,000

10   Kazakhstan tenge (KZH) [USD $3,518.63]. However, the Arbitrator also awarded Respondent

11   41,095,60 Swiss Francs (CHF) [USD $44,908.81] and EUR €659.50 [USD $775.62]. After netting

12   all of those fees, Petitioner is to recover USD $105,075.76 from Respondent for attorneys’ fees

13   and related costs ($150,760.19 [Petitioner’s Awards in USD] - $45,684.43 [Respondent’s Awards

14   in USD] = $105,075.76). See Award ¶¶ 420-423.

15         23.      The total amount owed by Respondent to Petitioner after netting the awards of fees

16   and costs to each party and adjusting for currency exchange rates is $1,5128,360.70:

17               a. Damages:                              $1,296,000.00

18               b. Penalty:                              $   72,000.00

19               c. Reimbursement for Fine:               $   11,707.00 1

20               d. Net costs of arbitration:             $   33,800.00 2

21               e. Net attorneys’ fees and costs:        $ 105,075.76

22                                         TOTAL:         $1,518,582.76.

23         24.      The Award was issued on August 6, 2021. The Parties’ Contract provides that the

24   “[a]pplicable law under the present Contract is the substantive and procedural law of the United

25   Kingdom.” See Contract, § 13.5, p. 8. Under the United Kingdom’s Late Payment of Commercial

26
     1 Converted from Kazakhstan tenge by the Arbitrator. See Award at ¶¶ 332-333.
27   2
       Portions of arbitration and legal costs converted from English pounds, Swiss Francs, Kazakhstan
28   tenge and Euros at exchange rates in effect August 6, 2021. See https://www.exchange-
     rates.org/HistoricalRates/E/USD/8-6-2021. See William Murphy Declaration, ¶ 2 & Exh. P.
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1    Debts (Interest) Act 1998 (“Late Payment Act”), post-Award, prejudgment interest began to

2    accrue from the date of the Award, August 6, 2021. Accordingly, the judgment to be entered on

3    the confirmed Award should include and award of prejudgment interest in the amount of $88,

4    857.89, representing prejudgment interest at rates set pursuant to the Late Payment Act varying

5    from 8.10% to 9.00% on the damages, penalty, fine, costs of arbitration and net attorneys’ fees and

6    legal costs from August 6, 2021 through June 17, 2021, for a total of USD $1,605,693.24 to be

7    entered as the judgment (Declaration of William F. Murphy [“Murphy Decl.”], ¶¶ 3 & Exh. Q;

8    Declaration of Tze Ling On [“Ong Decl.”] ¶¶ 2-5 & Exhs. A-C) plus Petitioner’s reasonable

9    attorneys’ fees and costs in bringing this proceeding to confirm the Award and have judgment

10   entered on it (Murphy Decl. ¶ 4). Daily interest after June 17, 2022, runs at $374.45/day. Murphy

11   Decl. ¶ 3 & Exh. Q.

12         25.      Both Parties acknowledged the Arbitrator’s jurisdiction to decide the dispute

13   (Award ¶ 344).

14                         IV.   RESPONDENT HAS NOT PAID THE AWARD

15         26.      On September 13, 2021, about five weeks after the issuance of the Award,

16   Respondent purported to object to the Award by way of letter to Petitioner on the asserted grounds

17   that Supplemental Agreement No. 3, upon which Respondent asserted the Award was “primarily

18   based”, “may be a forged document that was never signed by the undersigned”. Abishev Decl. ¶

19   25 & Exh. L [Sept. 13, 2021, Letter from Respondent to Petitioner]. The letter continued, “Given

20   the gravity of the facts we have already uncovered, CPI takes the preliminary result of this

21   investigation very seriously and is therefore actively continuing our investigation.”

22         27.      Respondent’s purported objection has no merit and is inconsistent with the theories

23   and testimony it presented during the arbitration. On September 30, 2021, Petitioner replied to

24   Respondent’s letter of September 13, 2021, refuting Respondent’s claims and asking Respondent

25   to advise as to the time frame in which it would comply with the Arbitrator’s Award. Abishev

26   Decl. ¶ 25 & Exh. M. Although Respondent sent two more letters attempting to justify its

27   meritless claim that a document or documents had been “forged,” Respondent has failed to

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1    provide any timetable for complying with the Arbitrator’s Award. Abishev Decl. ¶¶ 26 & Exhs. N

2    & O.

3           28.     Prior to and at the arbitration, and in post-hearing briefings, Respondent did not

4    challenge the authenticity of Supplemental Agreements Nos. 3 or 4 or assert that they “may be [a]

5    forged document[s]”. Instead, Respondent argued variously that (a) Supplementary Agreement

6    No. 3 amended Contract Article 13.6 and Annex No. 1 (Award ¶ 149); (b) that Supplementary

7    Agreement No. 3 remained important (Award ¶ 150); (c) that Supplementary Agreement No. 3

8    was a short-term fix, agreed to by Respondent in order to relieve regulatory pressure on Petitioner

9    until the end of 2015 (Award ¶ 151); (d) that Supplementary Agreement No. 3 had proven

10   unworkable (Award ¶ 250); and (e) that Respondent had received Supplementary Agreement No.

11   3 and Supplementary Agreement No. 4 at the same time and signed them back-to-back rendering

12   Supplementary Agreement No. 3 without force. (Award ¶¶ 246-251). Declaration of Dauren

13   Abishev [“Abishev Decl.”] ¶¶ 25-27.

14          29.      As to the last contention, the Arbitrator noted that “this allegation was made at a

15   late stage of the proceedings, namely for the first time at the hearing. Had the Respondent viewed

16   this as an important point, one would have expected it to raise that issue on an earlier occasion.”

17   (Award, p. 56, ¶ 251). Respondent’s new position that Supplementary Agreement Nos. 3 and 4

18   may be “forged” was raised for the first time only after Respondents had lost, and then only for the

19   purpose of attempting to evade Respondent’s obligations under the Award.

20          30.     There are no other proceedings affecting this Petition. Respondent copied the ICC

21   on its post-arbitration correspondence to Petitioner regarding the alleged “forged” documents, and

22   contended in its letter of September 13, 2021 that “[p]ending the result of its investigation, CPI

23   sees no other choice but to file an application to set aside and to revise the Final Award before the

24   Swiss Supreme Court, and to consider, if need be, initiating further civil and/or criminal

25   proceedings to protect its rights.” However, Respondent has not paid Kazsilicon pursuant to the

26   Award, and to the best of Petitioner Kazsilicon’s knowledge, Respondent has taken no steps to set

27   aside or vacate the Award, reopen the arbitration proceedings, or seek modification of the

28   Arbitrator’s Award. Abishev Decl. ¶¶ 28-29.

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1          V.       CONFIRMATION BY THIS COURT

2          31.      Under Section 207 of the Federal Arbitration Act, “[t]he court shall confirm the

3    award unless it finds one of the grounds for refusal or deferral of recognition or enforcement of the

4    award specified in the [New York] Convention.” 9 U.S.C. § 207. No grounds exist for the Court to

5    refuse or defer recognition or enforcement of the Award under the New York Convention.

6          32.      As such, this Court should confirm the Award pursuant to 9 U.S.C. § 207, and enter

7    Judgment in favor of Petitioner Metallurgical Plant Kazsilicon, LLC and against Respondent

8    Clean Power Innovations, LLC in the total amount of USD $1,605,693.24, plus interest after June

9    17, 2022, and the reasonable attorneys’ fees and costs incurred by Kazsilicon for bringing this

10   Petition; and for such other relief as the Court deems just and proper.

11   Dated: May 27, 2022.                          DILLINGHAM & MURPHY, LLP
                                                   WILLIAM F. MURPHY
12                                                 J. CROSS CREASON
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14
                                             By: ______________________________________
15                                               Attorneys for Petitioner METALLURGICAL
                                                 PLANT KAZSILICON LLC
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